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                                                                               Page 1
  1                   IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
  2                             EASTERN DIVISION

  3

  4      ESTATE OF PIERRE LOURY,
         Deceased, by TAMBRASHA
 5       HUDSON, Administrator,

 6                    Plaintiff,                       No. 16 C 04452

 7             -vs-

 8       CITY OF CHICAGO, CHICAGO
         POLICE OFFICERS SEAN HITZ
 9       (Star No. 6272) and JEFF J
         RIORDAN (Star No. 7716),
10
                      Defendants.
11

12

13                    The deposition of TRAK SILAPADURIYANG, called

14       by the Plaintiff for examination, pursuant to notice

15       and pursuant to the Federal Rules of Civil Procedure

16       for the United States District Courts pertaining to

17       the taking of depositions, taken before Christine

18       Bechtold, Certified Shorthand Reporter within and for

19       the County of Cook and State of Illinois, at 191 North

20       Wacker Drive, Chicago, Illinois, Commencing at the

21       hour of 10:00 o'clock on the 10th day of August, A.D.,

22       2017.

23

24




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                                                                                    Page 5
       1                                    (Witness sworn.)

       2                               TRAK SILAPADURIYANG,

       3       called as a witness herein, having been first duly

      4        sworn, was examined and testified as follows:

       5                    D I R E C T         E X A M I N A T I O N

      6        BY MR. ODIM:

      7             Q.      Good morning, Officer Trak.

'~    8             A.      Good morning, sir.

      9             Q.      We're here today for your 30(b)6 deposition.

     10        I'm going to show you what we'll mark as Plaintiff's

     11        Exhibit 1.

     12                                   (Whereupon, Silapaduriyang

     13                                    Exhibit 1 was marked for

     14                                    identification.)

     15       BY MR. ODIM:

     16             Q.     On the first page beside your name it

     17       includes the following, "Paragraph 8 not including

     18       subpart."       That references Page 4 of the document.

     19                    ,You're here to testify, am I correct, about

     20       the policies, practices, and/or customs with respect

     21       to the training of police officers about discharging

     22       firearms at civilians from 2010 to 2016?

     23             A.     Yes; sir.

     24             Q.     You're not testifying about Subpart A in



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                                                                                  Page 7
      1            A.     First of all is the one in front of me right

      2       here.

      3            Q.     Okay.

      4            A.     Okay.     And the one prior to that is the

      5      30(b)6 that I did before on the Lane case.

     6             Q.     Okay.     And do you recall that -- you said it

      7      was the transcript of that deposition for the Lane

     8       case?

     9             A.     Yes, sir.

    10             Q.     Or the Notice?

    11             A.     The transcript, I believe, or is it --

    12             Q.     The transcript being the record of the

    13       questions and answers.

    14             A.     Correct.

1   15             Q.     Okay.     And those were the only two documents

    16       you reviewed, the transcript of the Lane 30(b)6

    17       deposition that you gave and the 30(b)6 Notice in this

    18       case?

    19             A.     Yes, sir.

    20             Q.     What's your present position with the City of

    21       Chicago police force?

    22             A.     I'm assigned as a senior instructor at the

    23       Chicago Education and Training Academy, sir.

    24             Q.     And the Chicago Education Training Academy is



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                                                                               Page 8
  1       a branch of or department of the Chicago police force,

  2       correct?

  3                   MR. SCHOOP:        I'll just object to the form of

  4       the question.        But, please, answer the question.

  5                   THE WITNESS:        It's under the Bureau of

  6       Organization Development within the Chicago Police

  7       Department.

  8       BY MR. ODIM:

  9            Q.     Okay.     And how long have you been a senior

 10      instructor at that institution?

 11            A.     Since 2009, sir.

 12            Q.     And do you have any duty -- from 2009 to the

 13      present, do you have any duties other than duties

 14      associated with the -- your being a senior instructor

 15      at that institution?

 16            A.     Outside of Chicago Police Department?

 17            Q.     No, with the Chicago Police Department.

 18            A.     With the Chicago Police Department, assigned

 19      to the academy, again, as a senior instructor, teach

'20      classes including police recruits, Continuing service

 21      of the veteran police officers, and curriculum

 22      development.

 23            Q.     So all your responsibilities from 2009 to the

 24      present are responsibilities that are not in the



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                                                                             Page 9
 1       field.     You have mainly an education function?

 2            A.     Correct, sir.

 3            Q.     Okay.     Education including all components of

 4       that training, recruiting, that sort of thing?

 5            A.     Correct, sir.                   °

 6            Q.     Okay.     Prior to 2009 did you hold a position

 7       with the Chicago Police Department?

 8            A.     Yes, sir.

 9            Q.     Immediately prior to becoming a senior

10      instructor, what was your position with the CPD?

11            A.     I was a patrol officer assigned to

12      14th District, Shakespeare.

13            Q.     And how long were you a patrol officer?

14            A.     I came on the job in 2002, and then after the

15      academy training I -- 2003 through 2009, sir.

16            Q.     Okay.     So your first employment with the

17      Chicago Police Department was 2002?

18            A.     Yes, sir.

19            Q.     Okay.     Prior to 2002 what were you engaged in

20      doing?

21            A.     I was an axillary police officer for Village

22      of Rosemont for two years.

23            Q.     That would be from 1999 to 2002, roughly?

24            A.     Approximately 2000 to 2002, yes, sir.



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                                                                             Page 10
  1            Q.     And prior to that what were you engaged in

  2       for employment purposes?

  3            A.     I was a customer service manager for

 4        Schaumburg Chrysler, that's an automotive dealership,

  5       car dealership.

 6             Q.     Do I have this right, you were at the academy

  7       2002 through 2003?

 8             A.     As a police recruit.

 9             Q.     As a police recruit.

10             A.     Yes, sir.

11             Q.     You do do consulting with entities other

12        than, that is outside, the Chicago Police Department,

13        correct?

14             A.     Yes, sir.

15             Q.     In the last five years can you tell me the

16       consultancies that you have engaged in?

17             A.     I was selected by the U.S. Department of

18       State representing Chicago Police Academy, Chicago

19       Police Department, went overseas to consult with the

20       Thai police, the Thai National Police, and the

21       Vietnamese National Police.

22             Q.     And this was approximately -- this was in the

23       last five years.          Approximately what year?

24             A.     Started in 2011, sir.



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                                                                             Page 11
  1             Q.     Okay.

  2            A.      And it's currently still ongoing, yes.

  3             Q.     Okay.     And have you had any other

 4        consultancies within the past five years?

  5            A.      No, sir.

 6             Q.      Have you provided expert testimony in any

 7        legal case during your tenure at the Chicago Police

 8        Department?

 9             A.      Recently I have in terms of deposition, yes.

10             Q.      And the -- do you recall the case in which

11        you provided expert testimony?

12             A.      The Lane case I did.

13                     MR. SCHOOP:       I just need clarification on

14       this.       Are you asking about expert testimony per

15       2-618, or are we talking about the 30(b)(6) because I

16       don't think the witness is --

17                     MR. ODIM:      Good point.

18       BY MR. ODIM:

19             Q.     I'm making a distinction between giving

20       30(b)6 testimony --

21             A.     Okay.

22             Q.     -- and giving testimony as someone who has

23       been formally qualified as an expert witness.

24             A.     Okay.     I see the distinction right there.



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                                                                              Page 14
  1             A.     I believe a couple months ago.

  2             Q      Okay.

  3             A.     I'm sorry.       Maybe going back to spring.             I'm

  4       not sure.       Time just flew by.

  5             Q.     Actually, that's the zone I was putting down.

  6       Okay.      Thank you.

  7                    Okay.     The current City of Chicago Deadly

  8       Force Policy is contained in General Order G03-02-03;

  9       is that correct?

 10             A.     Yes.

 11             Q.     I'm going to show you what we'll mark as

 12       Plaintiff's Exhibit 2.

 13                                  (Whereupon, Silapaduriyang

 14                                   Exhibit 2 was marked for

 15                                   identification.)

 16       BY MR. ODIM:

 17            Q.     Will you take a brief look at that, and I

'18       just have a few questions about it.

 19            A.     If I may get my reading glasses?

 20            Q.     Oh, sure.       Are you set?

 21            A.     Yes, sir.

 22            Q.     The document, Exhibit 2, you have in front of

 23       you is the current policy; is that correct?

 24            A.     Yes, sir.



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                                                                          Page 15
  1         Q.     Now, in the header of that, the first page,

  2   it says, "Rescinds:           1 October 2002 Version."

  3         A.     Correct.

  4         Q.     Okay.     Am I correct in saying that there was

  5   no substantive difference between Exhibit 2 and the 1

  6   October 2002 version that it rescinded?

  7                MR. SCHOOP:       Objection, foundation.

  8                THE WITNESS:        I don't understand the

  9   question.

10    BY MR. ODIM:

11          Q.     Okay..    Is there a difference between

12    Exhibit 2 and the 1 October 2002 version that was

13    rescinded by Exhibit 2?

14                 MR. SCHOOP:       Same objection as to the

15    foundation of the question.

16    BY MR. ODIM:

ti7         Q.     Do you understand the question?

18          A.     Yes, sir.

19          Q.     Okay.

20          A.     Yes, .there is a difference.

21          Q.     Can you tell me what that difference is?

22          A.     Specifically, I'd have to do compare and

23    contrast.      However, when -- this is, like, an updated.

24    So, you know --



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                                                                          Page 19 ~
  1   A.

  2         A.     Okay.     If you can repeat the question.

  3         Q.     Let me ask it in a shorter way.

 4                 What are the practical applications of the

 5    use of deadly force against a fleeing suspect?

 6          A.     Okay.     The application practice or practices

 7    is we do not shoot at a fleeing subject.                   We do not

 8    use deadly force at a fleeing subject.

 9          Q.     Are there circumstances in which the City of

10    Chicago believes that deadly force should be used

11    against a fleeing suspect?

12          A.     Yes.

13          Q.     And what are those situations?

14          A.     The circumstance will be where the officer

15    has reasonable belief that fleeing subject pose an

16    immediate threat, of course with weapons, to himself,

17    to his or her partner, or other civilians.

18          Q.     So that if a fleeing suspect is in possession

19    of a gun but doesn't point the gun at the officer,

20    would the City of Chicago agree that the use of deadly

21    force against that fleeing suspect would not be

22    appropriate?

23                 MR. SCHOOP:       I'm just going to object to the

24    extent that that question arguably is an incomplete



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                                                                           Page 20
   1    hypothetical question            But, please, answer the

   2    question.

   3                THE WITNESS:        Correct, sir.        No.

  4     BY MR. ODIM:

  5          Q.     And clearly a fleeing suspect who has no gun

  6     on him is not an appropriate target for discharge of

  7     an officer's weapon?

  8          A.     Correct.

  9          Q.     Would it be appropriate for an officer to

 10     discharge his weapon at a fleeing suspect who merely

 11     reaches for a gun but doesn't pull it out and point it

 12     at the officer?

1,13                MR. SCHOOP:       Again, I'm going to object to

 14    the extent the question arguably poses an incomplete

 15    hypothetical question.            But, please, answer the

 16    question.

 17                 THE WITNESS:        What we look at, there's three

 18    components, sir, on deadly force situations.

 19    BY MR. ODIM:

 20          Q.     Okay.

 21          A.     Okay.     One, the weapon system, which could be

 22    a pistol, firearms, knife, bat, anything that could

 23    cause death or great bodily harm.

 24                 Number two is the delivery system.                Delivery



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                                                                              Page 22
      1                MR. SCHOOP:       I'll just object to the form of

      2   the question.         But, please, answer the question.

      3                THE WITNESS:        Correct, sir._



     5          Q.     Okay.     And what -- how do you -- how does the

     6    City of Chicago train officers to determine or analyze

     7    a situation in order to arrive at some reasonable

     8    belief about the intent of a fleeing suspect?

     9          A.     Couple things.        Pre-attack indicators is what

    10    we call.

    11          Q.     And what are those pre-intent indicators?

    12          A.     Pre-attack.

    13          Q.     Oh, I'm sorry.        Pre-attack?

    14          A.     Correct.

    15          Q.     Okay, sorry.

    16          A.     Indicators.

X   17          Q.     What are those pre-attack indicators?

    18          A.     Bodily language.

    19          Q.     Okay.

    20         A.      Not necessary it has to be deadly force

    21    encounter, like clench fist, boxing stand, 1,000 yards

    22    looks, stares, okay.

    23          Q.     In connection with a fleeing suspect who is

    24    at a distance from the officer, what would be



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                                                                          Page 29
  1                What is post discharge training?

  2         A.     What that means is in training we have

  3    simulators pistol.          So post discharge just means post

 4     discharge after a trainee discharge his or her pistol.

 5          Q.     Is post discharge training a concept that is

 6    used by the City of Chicago after a police officer has

  7    discharged his weapon in the field?

 8                 MR. SCHOOP:       Object to the form of the

 9    question.

10    BY MR. ODIM:

11          Q.     Do you understand the question?

12          A.     Post discharge training, okay.               If you're

13    referring to the officer discharged his weapon, yes,

14    there's an eight hours training that the officer has

15    mandatory to come in for training.

16          Q.     And what's the purpose of that?

17          A.     There's several purposes.             One, we want the

18    officer to speak out about the events that occurred,

19    anything that he or she -- about the traumatic

20    incident.

21          Q.     And is there any other purpose?

22          A.     Yes.

23          Q.     And what are the other purposes?

24          A.     There's a review of the law, and there is a



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                                                                             Page 30
  1      firearms training again.            We will have the chaplain's

  2      office that come out and speak to he or she, employee

  3      assistance program.          It is a traumatic incident.

  4            Q.     Let me ask you about the difference between

  S      written policies and unwritten policies.

  6                   We've talked about the written policy

  7      embodied in General Order G03-02-03.

  8                   Are there any unwritten -- are there any

  9      practical applications of unwritten policies regarding

 10      discharged of an officer's fire arm at a fleeing

 11      suspect?

112                   MR. SCHOOP:       I'm just going to object to the

 13      form and the foundation of the question.                   But, please,

 14      if you understand the question, answer it.

15                   THE WITNESS:        You mean unwritten that's not

16       documented?

17       BY MR. ODIM:

18            Q.     Right.

19            A.     No, sir, absolutely not.

20            Q.     Another definitional question.               What is force

21       mitigation?

22            A.     Force mitigation is techniques to assist

23       officer knowing how to deescalate the situation,

24       especially to the mentally ill individuals.



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